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             ORAL ARGUMENT NOT YET SCHEDULED
                              No. 25-5066

            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                      ________________

      UNITED STATES CONFERENCE OF CATHOLIC BISHOPS,
                                     Plaintiff-Appellant,
                                   v.
          UNITED STATES DEPARTMENT OF STATE, et al.,
                                  Defendants-Appellees.
                            ________________

            On Appeal from the United States District Court
                       for the District of Columbia
           No. 1:25-cv-00465-TNM, Judge Trevor N. McFadden
                             ________________

  EMERGENCY MOTION FOR INJUNCTION PENDING APPEAL
         AND FOR EXPEDITED APPEAL ON THE MERITS
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              CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1, United

States Conference of Catholic Bishops certifies that it does not have a

parent corporation and that no publicly held corporation owns more than

ten percent of its stock.




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                           INTRODUCTION

     Fulfilling a requirement of the Refugee Act of 1980, the State De-

partment supports essential services for lawful refugees newly admitted

to the United States. For decades, the Department has partnered with

the U.S. Conference of Catholic Bishops (“USCCB”) to carry out this pro-

gram.

     But on January 24, 2025, the government unlawfully suspended the

refugee-resettlement program. And on February 26, after litigation com-

menced, the government terminated USCCB’s agreements altogether. It

did not merely halt support for future refugees; it stopped resettlement

assistance for the thousands of already-arrived refugees it had assigned

to resettlement partners, including USCCB. That violated the Refugee

Act, the Impoundment Control Act, the APA, and federal regulations.

     This Court should issue an injunction pending appeal requiring the

government to fulfill its statutory and regulatory obligations under

8 U.S.C. § 1522 to provide resettlement assistance to refugees already

present in the United States.

     The district court denied USCCB’s motion for preliminary injunc-

tion, mischaracterizing USCCB’s requested relief as “purely contractual”

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and concluding it lacked jurisdiction. It denied USCCB’s motion for in-

junction pending appeal on the same ground.

      Because USCCB’s claims are meritorious and not barred by the

Tucker Act, and because USCCB faces grave irreparable harm, USCCB

moves this Court for an emergency injunction pending appeal and for ex-

pedited consideration of the appeal. The parties agree to expedited brief-

ing of this motion:

          March 21: Opposition to motion

          March 25: Reply in support of motion

      USCCB respectfully requests that this Court decide its emergency

motion for injunction pending appeal before March 28, 2025 (when addi-

tional layoffs take effect).

                               BACKGROUND

      The Catholic Church has cared for refugees since its inception.

App.46-47. Since 1980, USCCB has carried out the Church’s mission to

care for refugees in partnership with the federal government. App.46.

      Congress has declared it the “historic policy of the United States to

respond to the urgent needs” of refugees. Refugee Act of 1980, Pub. L.

No. 96-212, § 101, 94 Stat. 102. In the Refugee Act of 1980, Congress

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created a statutory framework for both refugee admissions and the pro-

vision of “transitional assistance” to integrate refugees effectively. Id.

Refugees are first rigorously vetted and enter the country legally. Refu-

gee Processing and Security Screening, USCIS, https://perma.cc/

4A8CEQRZ. Once here, they become eligible for “domestic resettlement

assistance,” and Congress has consistently appropriated funds for that

purpose. 8 U.S.C. § 1522; e.g., Department of State, Foreign Operations,

and Related Programs Appropriations Act, 2024, Pub. L. No. 118-47, 138

Stat. 460, 744 (2024) (appropriating $3.928 billion to the State Depart-

ment for, among other things, “activities to meet refugee and migration

needs”).

     The Refugee Act provides that the government “shall, to the extent

of available appropriations,” “make available sufficient resources” for em-

ployment and English language training and cash assistance, to enable

refugees to “become effectively resettled” and “economic[ally] self-suffi-

cien[t]” as “quickly as possible.” 8 U.S.C. § 1522(a). The government pro-

vides this assistance through various resettlement programs. Under the

initial-resettlement program, the State Department enters annual agree-

ments with nonprofits like USCCB to provide essential assistance—like
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housing, food, and clothing, as well as social, medical, educational, and

employment services—during refugees’ first 90 days in the United

States. Id. § 1522(b); App.43.

      Under USCCB’s cooperative agreements for 2025, the government

committed $65 million for initial resettlement. App.38. In coordination

with local Catholic Charities, USCCB uses these funds to care for thou-

sands of refugees in the United States. App.37.

      On January 24, 2025, without notice, the State Department sus-

pended funding for refugee resettlement nationwide by issuing suspen-

sion letters to its resettlement partners. It claimed that the suspension

was “[c]onsistent with” President Trump’s Executive Order “Reevaluat-

ing and Realigning United States Foreign Aid,” and that the agreements

“may no longer effectuate agency priorities.” App.25. Since the suspen-

sion, and despite ongoing conversations with USCCB, see App.27-33, the

government has not made any payments to USCCB—even to reimburse

pre-January 24 services, which the suspension letter purported to allow.

App.40. USCCB filed this lawsuit in the District Court for the District of

Columbia on February 18, 2025, and requested a temporary restraining

order and preliminary injunction. Dkt. 1.
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      On February 26, 2025, two days before the preliminary injunction

hearing, the State Department doubled down: USCCB received two one-

page letters purporting to terminate the initial-resettlement program.

App.75-80. They stated that the awards “no longer effectuate agency pri-

orities”—without explaining the Department’s priorities, why the awards

no longer effectuate them, or why USCCB must immediately “stop all

work” and abandon the thousands of refugees still in their critical 90-day

period. Id.

      The district court denied USCCB’s motion for a preliminary injunc-

tion, concluding that the court lacked jurisdiction because the relief

USCCB sought was “incompatible with the Government’s sovereign im-

munity.” Dkt. 37 at 8 (“Op.”). The court later denied USCCB’s motion

for injunction pending appeal on the same ground. App.82.

      The consequences have been devastating for USCCB and its refu-

gees. At the time of the suspension, there were more than 6,700 refugees

assigned to USCCB who were within their 90-day transition period.

App.40. As of February 24, 2025, more than 5,000 eligible refugees re-

mained. App.64. USCCB is short millions of dollars in unpaid reim-

bursements for services already rendered and is accruing millions more
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each week—with no indication the government will fund any additional

services. App.62-63. USCCB has already been forced to initiate layoffs

for fifty employees. App.62. It faces irreparable damage to its refugee

resettlement programs, its relationships with its partners, and its mis-

sion. App.42-43. USCCB’s inability to reimburse its partners has re-

quired them to lay off staff and stop providing critical services to refu-

gees. See App.49-58, 65-69. Refugees who have already entered the

United States have been or may soon be cut off from support, id., making

it more difficult for refugees to establish themselves as productive mem-

bers of society. Absent an injunction pending appeal, these harms are

certain to continue.

                         STANDARD OF REVIEW

      This Court reviews de novo “any legal conclusions upon which the

district court relies” in granting or denying a preliminary injunction.

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.

Cir. 2006).




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                                ARGUMENT

I.    This Court Has Jurisdiction To Grant Preliminary Relief

      USCCB seeks an order preliminarily enjoining the government to

comply with its statutory obligations under 8 U.S.C. § 1522 and to cease

its unlawful abandonment of the refugee resettlement assistance pro-

gram. USCCB’s claims and relief sought fall squarely within the prov-

ince of this Court and the district court, both under the APA and federal

courts’ equitable power to enjoin “violations of federal law by federal of-

ficials.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327

(2015); 5 U.S.C. §§ 703, 705, 706.

      The district court erred in concluding the “requested injunctive re-

lief is incompatible with the Government’s sovereign immunity.” Op. 8.

The APA waives immunity for suits seeking “relief other than money

damages.” 5 U.S.C. § 702. In Bowen v. Massachusetts, the Supreme

Court held that “an equitable action for specific relief” is not an action for

“money damages,” and therefore is within the APA’s waiver even if the

“judicial remedy may require one party to pay money to another.” 487




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U.S. 879, 893 (1988). Thus, a suit “seeking to enforce [a] statutory man-

date” is a permissible equitable action “within the waiver of sovereign

immunity in section 702.” Id. at 900.

      A.    The district court incorrectly concluded that the Tucker Act

“impliedly forbids the relief which is sought.” Op. 8 (quoting 5 U.S.C.

§ 702). Exclusive Tucker Act jurisdiction “depends not simply on whether

a case involves contract issues, but on whether, despite the presence of a

contract, plaintiffs’ claims are founded only on a contract, or whether they

stem from a statute or the Constitution.” Transohio Sav. Bank v. Dir.,

Off. of Thrift Supervision, 967 F.2d 598, 609 (D.C. Cir. 1992) (emphasis

added).

      This Court therefore looks to three considerations—claim by

claim—to determine if the Tucker Act bars a claim. A claim falls “within

the Claims Court’s exclusive Tucker Act jurisdiction” only if “both” (1) the

“source” of the right asserted is contractual, “and” (2) the relief sought is

contractual. Crowley Gov. Servs., Inc. v. Gen. Servs. Admin., 38 F.4th

1099, 1106-07 & n.6 (D.C. Cir. 2022) (emphases added); see also Mega-

pulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982). And this Court

(3) has “categorically reject[ed] the suggestion that a federal district court
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can be deprived of jurisdiction by the Tucker Act when no jurisdiction lies

in the Court of Federal Claims.” Tootle v. Sec’y of the Navy, 446 F.3d 167,

176 (D.C. Cir. 2006).1

      The district court erred at the outset by addressing only the relief

sought; it did not address the nature of the claim or definitively conclude

that the Court of Federal Claims had jurisdiction to grant the requested

relief. The court erred on that basis alone. In any event, all three con-

siderations demonstrate that USCCB’s claims are cognizable in district

court.

      First, USCCB’s claims are grounded in statutory and regulatory du-

ties—not contracts. USCCB’s core claim is that the government has a

statutory obligation to provide refugee resettlement assistance because

the Refugee Act demands that it “shall, to the extent of available appro-

priations” provide such services. 8 U.S.C. § 1522(a). USCCB also argues


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  As this Court has also recognized, there is a “strong case that, after
Bowen, the Tucker Act should not be read to ‘impliedly forbid’ under the
APA the bringing in district court of contract actions for specific relief.”
Transohio, 967 F.2d at 612. That is because Bowen noted “the nonexclu-
sivity of Claims Court jurisdiction,” and “[n]othing in the language of ei-
ther the Tucker Act or the APA requires special treatment for contract
claims.” Id. Regardless, under this Court’s precedent, the Conference’s
claims belong here.
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the government has violated other statutory and regulatory obligations

including the Impoundment Control Act, the APA, and the Uniform Ad-

ministrative Requirements. See infra § II. Determining whether the

government “exceeded its authority” or “violated” these laws “requires

primarily an examination of the statutes” and regulations it “has pur-

portedly violated”; these are “not questions the district court can answer

by examining a contractual promise.” Crowley, 38 F.4th at 1108-09.

      USCCB’s claims thus resemble those that this Court has repeatedly

held cognizable in district court. See, e.g., Sharp v. Weinberger, 798 F.2d

1521, 1524 (D.C. Cir. 1986) (“federal regulations, statutes and the Con-

stitution”); Transohio, 967 F.2d at 611 (similar); Crowley, 38 F.4th at

1108 (statutes). USCCB’s claims do not depend on breaches of its agree-

ments. Contra Albrecht v. Comm. on Emp. Benefits, 357 F.3d 62, 66-69

(D.C. Cir. 2004) (asserting breach of “section 7.1,” “section 10.2,” and “sec-

tion 8.1(b) of the Board Plan”).

      Second, USCCB seeks classic remedies available in an APA action:

an order (1) preliminarily enjoining agency action that violates statutes

and is arbitrary and capricious, see 5 U.S.C. §§ 703, 705, 706(2); Ohio v.



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EPA, 603 U.S. 279, 300 (2024) (staying enforcement of rule pending ap-

peal); and (2) compelling agency action required “by law,” Norton v. S.

Utah Wilderness All., 542 U.S. 55, 65 (2004); see 5 U.S.C. § 706(1).

      In particular, USCCB seeks a preliminary injunction requiring the

government to comply with Section 1522 and enjoining enforcement of

the government’s across-the-board discontinuation of the refugee reset-

tlement assistance program. While the government likely would comply

with such an injunction by adhering to USCCB’s cooperative agreements,

it could choose to provide the required assistance without reinstating the

agreements. And even if the proper remedy is specific performance, that

would not strip this Court of jurisdiction, because “a federal district court

may accept jurisdiction over a statutory or constitutional claim for in-

junctive relief even where the relief sought is an order forcing the gov-

ernment to obey the terms of a contract.” Transohio, 967 F.2d at 610.

      USCCB’s requested order also would confer “non-monetary relief”

with “‘considerable value’ independent of any future potential for mone-

tary relief,” Kidwell v. Dep’t of Army, 56 F.3d 279, 284 (D.C. Cir. 1995),

by allowing USCCB to fulfill its promise to the refugees placed in its care

and carry out its mission to assist refugees, see App.47-48. Thus, the
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relief sought would extend a “host of non-monetary benefits” including

“the ability to provide services to [refugees] and perform its contractual

obligations free of … alleged interference.” Crowley, 38 F.4th at 1111.

Any monetary consequences “will not come from the District Court’s ex-

ercise of jurisdiction, ‘but from the structure of statutory and regulatory

requirements.’” Tootle, 446 F.3d at 175.

      Third, this case is cognizable in district court because the Court of

Federal Claims cannot provide the relief most important for USCCB:

“prospective relief.” Bowen, 487 U.S. at 905. The Federal Circuit has

agreed that a complaint that “unmistakably asks for prospective relief”—

including “payments to which [the plaintiff] is entitled pursuant to fed-

eral statute and regulations”—and turns on “the interpretation of law

which controls payment” is properly in the district court’s jurisdiction.

Katz v. Cisneros, 16 F.3d 1204, 1208, 1209 (Fed. Cir. 1994). Only prompt

equitable relief, not future money damages, can redress the ongoing ir-

reparable harm to USCCB’s mission as it is prevented from assisting the

refugees in its care. Bowen rejected the suggestion that a claim “for dam-

ages … in the Claims Court” is an “‘adequate substitute for prospective

relief.’” Transohio, 967 F.2d at 608.
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      B.       The district court’s contrary reasoning is unpersuasive. To

begin, it quoted the Bowen dissent’s statement that “sovereign immunity

bars a suit against the United States for specific performance of a con-

tract.” 487 U.S. at 921 (Scalia, J., dissenting). USCCB is not seeking

specific performance of a contract. Regardless, the Bowen majority ex-

plained that “specific performance of [a] contract” is not a request for

“money damages” within the meaning of 5 U.S.C. § 702, so it is within

the APA’s waiver of sovereign immunity. 487 U.S. at 895 (quotation

marks omitted). Bowen further recognized that “the policies of the APA

take precedence over the Tucker Act” because “it seems highly unlikely

that Congress intended to designate an Article I court as the primary

forum for judicial review of agency action that may involve questions of

policy.” Id. at 895, 908 n.46 (quotation marks omitted). Bowen’s dissent,

by contrast, relied on Larson v. Domestic & Foreign Commerce Corp., 337

U.S. 682 (1949). That case tells us nothing about whether Section 702’s

waiver of sovereign immunity for non-money-damages suits encompasses

claims for specific performance because it pre-dated the 1976 APA

amendment that added that waiver. See Bowen, 487 U.S. at 891-93 (ma-

jority op.).
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      Consistent with Bowen, this Court has held that a district court

may grant an “order forcing the government to obey the terms of a con-

tract” where, as here, the plaintiff brings a “statutory or constitutional

claim.” Transohio, 967 F.2d at 610. The district court disregarded these

binding precedents.

      The district court also cited Justice Alito’s dissent in Department of

State v. AIDS Vaccine Advocacy Coalition, 604 U.S. ---, 2025 WL 698083

(Mar. 5, 2025), which relied on Great-West Life & Annuity Insurance Co.

v. Knudson, 534 U.S. 204 (2002). Knudson held that specific performance

was unavailable between private parties under a statute that authorized

“equitable relief.” 534 U.S. at 209-10. But equity has long recognized a

cause of action to enjoin federal officials’ violations of federal law, see

Armstrong, 575 U.S. at 327, and equity courts would grant specific per-

formance “to prevent future losses that … were incalculable,” Knudson,

534 U.S. at 211. USCCB’s suit fits within both of those categories.

      Equally misplaced was the district court’s reliance on Spectrum

Leasing Corp. v. United States, 764 F.2d 891 (D.C. Cir. 1985), and Inger-

soll-Rand Co. v. United States, 780 F.2d 74 (D.C. Cir. 1985). In Spectrum,

the Debt Collection Act “in no way create[d] the substantive right” the
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plaintiff invoked; it had no legal effect separate from the pre-existing con-

tract. 764 F.2d at 894 (emphasis added). Here, by contrast, the govern-

ment’s statutory duties under the Refugee Act, Impoundment Control

Act, and APA exist independently of its agreements with USCCB; they

are non-contractual bases for USCCB’s claims.

      USCCB’s case more closely resembles one that Spectrum accepted

and distinguished: National Helium Corp. v. Morton, 455 F.2d 650 (10th

Cir. 1971). In that case, as Spectrum explained, the Tenth Circuit or-

dered an agency “to comply with … the National Environmental Policy

Act” before “cancelling a helium conservation contract”—resulting in the

“reinstatement of the helium contract” and “obligat[ing] the government

to perform under it.” Spectrum, 764 F.2d at 894 n.4. Like the Morton

plaintiff, USCCB is “not asserting a private right in [its] capacity as gov-

ernment contractor[], but [is] instead … enforcing” statutes. Id.

      In Ingersoll-Rand, three considerations favored treating the claim’s

source as contractual, none of which apply here. First, it is not “possible

to conceive of this dispute as entirely contained within the terms of the

contract,” 780 F.2d at 78, because the statutory violations USCCB alleges

cannot be reframed as violations of any clause of its agreements. Second,
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the “issues raised by [USCCB’s] complaint are” not “within the unique

expertise of the Court of Claims”—which has no special expertise in in-

terpreting these statutes. Id. Third, USCCB has no need to analogize to

a bid protest action because its claims are based on statutes and regula-

tions. Id.

      Rather than relying on dissents and inapposite pre-Bowen case law,

the district court should have applied (but instead ignored) this Court’s

many cases concluding that jurisdiction was proper notwithstanding the

connection of the plaintiff’s claims to a contract or the fact that the re-

quested relief may resemble specific performance. See, e.g., Perry Capital

LLC v. Mnuchin, 864 F.3d 591, 619 (D.C. Cir. 2017) (no exclusive juris-

diction even though fiduciary duties “arose from” contractual relation-

ship); Megapulse, 672 F.2d at 971 (same, even if “injunction would re-

quire ... specific (non)performance” of “a contract”); Kidwell, 56 F.3d at

284 (same, even if “success … may obligate the United States to pay the

complainant”); Crowley, 38 F.4th at 1108-09; Tootle, 446 F.3d at 176;

Transohio, 967 F.2d at 610.




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II.   USCCB Is Likely to Succeed on the Merits

      A.    The Government’s Funding Cessation Violates the
            Refugee Act of 1980

      1.    The Refugee Act aimed “to provide comprehensive and uni-

form provisions for the effective resettlement and absorption of those ref-

ugees who are admitted.” § 101(b), 94 Stat. at 102. To accomplish that

objective, Congress required the government to provide resettlement ser-

vices to admitted refugees. See 8 U.S.C. § 1522(a). Congress mandated

that the government “shall” provide funding “to the extent of available

appropriations” for services like employment and English training such

that refugees become self-sufficient “as quickly as possible.”               Id.

§ 1522(a)(1)(A). Congress also directed that the government “shall de-

velop and implement … policies and strategies for the placement and re-

settlement of refugees within the United States,” id. § 1522(a)(2)(B), and

expressed its “intent” that “employable refugees should be placed on jobs

as soon as possible after their arrival,” id. § 1522(a)(1)(B)(i).

      Although Congress made refugee-resettlement assistance manda-

tory, it gave the government discretion over how to provide it. For the

program at issue here—the “program of initial resettlement”—the gov-


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ernment can provide services through resettlement non-profits, as it al-

ways has. 8 U.S.C. § 1522(b)(1). Or the government may implement the

program itself. Id. § 1522(b)(2). But Congress left it no discretion to

withhold available appropriations for the initial resettlement of admitted

refugees. See In re Aiken County, 725 F.3d 255, 261 n.1 (D.C. Cir. 2013).

      Yet that is exactly what the government has done through the sus-

pension and the termination. It has ceased providing USCCB funding

for the thousands of refugees in USCCB’s care still within their initial-

resettlement periods. And it has offered no evidence that it is providing

that funding directly to refugees. That funding cessation violates the

Refugee Act.

      2.   The government has argued that the Refugee Act makes ini-

tial-resettlement funding entirely optional. Dkt. 35, at 4-5. That is in-

correct. Its principal argument has been that Section 1522(b) merely “au-

thorizes” it to provide initial-resettlement assistance through public-pri-

vate partnerships. Id. at 6. But that discretion is limited to deciding how

to provide initial-resettlement assistance—either through private agen-

cies or directly. The Refugee Act does not grant discretion over whether

to provide assistance at all.
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      Rather, Section 1522(a)’s funding obligations apply throughout Sec-

tion 1522. Section 1522(a)’s first sentence provides that “under this sec-

tion”—which includes Section 1522(b)—the government “shall” fund the

specified resettlement services “to the extent of available appropria-

tions.” Id. § 1522(a)(1)(A) (emphasis added). Section 1522(b) further in-

structs that “[g]rants to, or contracts with, private nonprofit voluntary

agencies under this paragraph shall be made consistent with the objec-

tives of this subchapter”—which includes Section 1522(a)’s commands.

Id. § 1522(b)(1)(A) (emphasis added).     Section 1522(a)’s requirements

thus flow down to the initial-resettlement program.

      Contextual cues point to the same conclusion.        When Congress

wanted to carve out activities under subsection (b) from Section 1522(a)’s

requirements, it did so expressly. See 8 U.S.C. § 1522(a)(4)(B). The gov-

ernment’s position also would mean that in implementing the initial-re-

settlement program (but not Section 1522’s other resettlement pro-

grams), the government would be relieved of all of Section 1522(a)’s obli-

gations, including requirements for where a refugee is “initially placed or

resettled.” Id. § 1522(a)(2)(C). Moreover, it would be passing strange if

Congress wanted to give the government unfettered discretion to decide
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whether to fund resettlement payment obligations only during a refugee’s

crucial first 90 days in America.

      The government also has argued that Section 1522(a) imposes obli-

gations only on the “Director” of the Office of Refugee Resettlement, not

the Secretary of State, who has been designated by the President to im-

plement the initial-resettlement program. See HIAS, Inc. v. Trump, 985

F.3d 309, 319 n.5 (4th Cir. 2021). But the Refugee Act makes clear that

the Secretary has stepped into the Director’s shoes: “[T]he authority of

the Director under the first sentence of [§ 1522(b)(1)(A)] shall be exer-

cised by such officer as the President shall from time to time specify.”

8 U.S.C. § 1522(b)(1)(B). The Secretary thus must provide the resettle-

ment funding mandated by Section 1522(a).

      B.   The Suspension and Termination Violate the Im-
           poundment Control Act

      The Impoundment Control Act limits the government’s ability to

defer or rescind the spending of appropriated funds. 2 U.S.C. §§ 683, 684.

The suspension effected a “deferral of budget authority” by indefinitely

“withholding or delaying the obligation or expenditure of budget author-




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ity … provided for” refugee resettlement. 2 U.S.C. § 682(1). And the ter-

mination permanently rescinded funds for “authorized projects or activi-

ties for which budget authority has been provided.” Id. § 683(a).

       Yet the government did not observe the Impoundment Control Act’s

procedural requirements before taking these actions. Id. §§ 683(b) (re-

quiring rescission bill), 684(a) (special message to Congress before defer-

ral). And because the government justified its actions based on “agency

priorities,” App.75-80, the government has effected an impermissible pol-

icy-based deferral, violating the Act’s mandate that deferrals be made

“only” for three specified purposes to ensure “[c]onsistency with legisla-

tive policy.” 2 U.S.C. § 684(b); see In re Aiken County, 725 F.3d at 261

n.1.

       C.   The Suspension and Termination Are Arbitrary and
            Capricious

       The APA requires agency action to be “reasonable and reasonably

explained.” Ohio, 603 U.S. at 292 (quotation marks omitted). The sus-

pension and termination are neither.

       First, the government did not account for the irreparable damage

to USCCB and to refugees who are losing essential services during the


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critical first months of their resettlement. Dep’t of Homeland Sec. v. Re-

gents of the Univ. of Cal., 591 U.S. 1, 30 (2020). It ignored the substantial,

reasonable reliance interests imperiled by its sudden suspension and

subsequent termination. See id. And it failed to consider the less-dis-

ruptive, “obvious alternative[]” of halting funding only prospectively ra-

ther than for already-arrived refugees. Yakima Valley Cablevision, Inc.

v. FCC, 794 F.2d 737, 746 n.36 (D.C. Cir. 1986).

      Second, the government’s rationales were inadequate. It claimed

the suspension was “[c]onsistent with” the President’s Foreign Aid Exec-

utive Order. App.21-25. But that order applied only to “foreign assis-

tance,” which cannot include awards to an American non-profit, for refu-

gees in the United States, labeled “domestic assistance” by statute.

8 U.S.C. § 1522(a)(3). The government’s “conclusory statements” that

USCCB’s agreements are inconsistent with agency priorities “do not

meet the requirement that ‘the agency adequately explain its result.’”

Dickson v. Sec’y of Def., 68 F.3d 1396, 1407 (D.C. Cir. 1995). And the

government has provided no explanation for its refusal to reimburse pre-

January 24 expenses.

      Third, the government “fail[ed] to comply with its own regulations.”
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Nat’l Env’t Dev. Ass’n’s Clean Air Project v. EPA, 752 F.3d 999, 1009 (D.C.

Cir. 2014) (quotation marks omitted). The suspension violated the State

Department’s regulation providing that “[p]ayments for allowable costs

[incurred under a Federal award] must not be withheld” except under

circumstances not relevant here. 2 C.F.R. § 200.305(b)(6) (incorporated

into 2 C.F.R. § 600.101). And even if USCCB’s awards no longer effectu-

ate “agency priorities,” they can be terminated only “to the extent author-

ized by law.” 2 C.F.R. § 200.340(a)(4). Because the termination inde-

pendently violates several statutes, it also violates Section 200.340(a).

III. The Suspension and Termination Are Causing Irreparable
     Harm

      Irreparable injuries are (1) “certain and great”; and (2) “beyond re-

mediation” through the “compensatory or other corrective relief” a court

can grant “in the ordinary course of litigation.” England, 454 F.3d at 297-

98. Halting funding while USCCB is providing services to already-ar-

rived refugees is inflicting on USCCB three forms of ongoing irreparable

harm: (1) the loss of staff expertise; (2) injury to USCCB’s goodwill and

relationships with its partners; and (3) damage to USCCB’s programs in

frustration of one of its core missions.


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      First, losing employees with valuable expertise and relationships is

irreparable harm to an organization because “‘compensatory or other cor-

rective relief’” cannot restore its lost human capital. Id. at 297. An or-

ganization experiences irreparable injury when it loses “skilled employ-

ees” with the “institutional knowledge and experience” to fulfill its obli-

gations, Yorktown Sys. Grp., Inc. v. Threat Tec LLC, 108 F.4th 1287, 1296

(11th Cir. 2024)—even if “a new employee [is] hired,” Louisiana v. Biden,

55 F.4th 1017, 1034 (5th Cir. 2022).

      The suspension and termination have forced USCCB to notice ter-

minations for 50 staff with decades of experience serving refugees, with

more layoffs around the corner if the unlawful termination continues.

App.40-41. USCCB lost 27 employees on March 7, and 12 more will be

lost by March 28. See App.63. USCCB will imminently lose the “institu-

tional knowledge and experience” it needs to serve refugees. Yorktown,

108 F.4th at 1296. Compensatory relief cannot undo this injury. Louisi-

ana, 55 F.4th at 1034.

      Second, organizations suffer irreparable harm when a defendant

damages their reputation and relationships. “‘[I]njury to reputation and

goodwill is not easily measured in monetary terms,’” so “it is ‘often viewed
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as irreparable.’” Jones v. District of Columbia, 177 F. Supp. 3d 542, 547

(D.D.C. 2016); see Armour & Co. v. Freeman, 304 F.2d 404, 406 (D.C. Cir.

1962). Damage to an organization’s relationships with its customers or

partners is irreparable. See Yorktown, 108 F.4th at 1297 (“[a]brupt ter-

mination” “harm[ed] [organization’s] reputation”); Otero Sav. & Loan

Ass’n v. Fed. Reserve Bank of Kansas City, 665 F.2d 275, 278 (10th Cir.

1981) (irreparable harm where plaintiff was “forced to interrupt ser-

vices,” resulting in “‘severe confusion’” and “‘loss of good will and cus-

tomer confidence’”).

      The suspension and termination are damaging USCCB’s goodwill

and relationships with its partner charities, which serve refugees in reli-

ance on USCCB’s funding.         USCCB has been unable to reimburse

$10.4 million (and growing) in costs incurred by its partners, who have

begun laying off employees. App.51-52, 56-57, 62-63, 67-68. The serious

risk of future funding shortfalls makes it unlikely that these partners

will work with USCCB again. App.53, 57-58. Indeed, one agency has

already shuttered its refugee-resettlement arm. See App.68. Money

damages cannot repair the structural damage to USCCB’s network.

App.73.
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      Third, an organization is irreparably harmed if a defendant’s ac-

tions make “the organization’s activities more difficult,” frustrating one

of its bona fide “mission[s].” League of Women Voters of U.S. v. Newby,

838 F.3d 1, 8 (D.C. Cir. 2016). The suspension and termination have

frustrated one of USCCB’s core “mission[s]” by ending the funding that

enables USCCB to assist the refugees in its care. Id. “[P]articipation in

the Refugee Admissions Program reflects the Catholic Church’s

longstanding commitment to migrants and refugees.” Op. 3. Because of

its “deeply held religious beliefs” and “consistent with the work of the

Church since its inception, USCCB runs the largest refugee resettlement

agency in the United States.” App.47. Nearly a third of USCCB’s staff

are dedicated to refugee resettlement. App.62.

      Without funding, USCCB and its subrecipients cannot continue

providing essential services to the thousands of recently-arrived refugees

in its care. Massive layoffs and permanent damage to crucial partner

relationships will have “crushing consequences” for USCCB’s refugee-re-

settlement “operations,” making it unrealistic to expect that it “could

simply reopen its doors” later. Alpine Sec. Corp. v. FINRA, 121 F.4th

1314, 1329 (D.C. Cir. 2024). And USCCB’s “operational and investment
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reserves cannot sustain” the program “without jeopardizing the entire

operation of the USCCB.” App.63.

      As a result, refugees in USCCB’s programs today are no longer re-

ceiving services. Some subrecipients have stopped services altogether,

App.67-68, while others have been forced to seriously curtail services;

refugees are “on the brink of losing their new homes,” App.52, 56-57.

      No future monetary award can retroactively redress the fact that

the program suspension and termination are preventing USCCB from

assisting the thousands of refugees currently in its care whom it feels

called to help. See Newby, 838 F.3d at 8; cf. Roman Catholic Diocese of

Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020) (Church’s inability to conduct

worship services, “‘for even minimal periods of time, unquestionably con-

stitutes irreparable injury’”); accord App.47-48 (“[T]he funding suspen-

sion threatens the USCCB’s ability to exercise its moral obligation to pro-

vide for the particular refugees currently assigned to its care.”).




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IV.   The Balance of the Equities and Public Interest Favor Re-
      lief

      “[T]here is a substantial public interest ‘in having governmental

agencies abide by the federal laws’”; “[t]here is generally no public inter-

est in the perpetuation of unlawful agency action.” Newby, 838 F.3d at

12. Moreover, for nearly fifty years, Congress has recognized the public

interest in resettling refugees by continually funding services that enable

them to become self-sufficient.

      It is inequitable for the government to assign USCCB nearly 7,000

vulnerable refugees only to suddenly rescind the funds USCCB needs to

serve those refugees. Nor is it equitable or in the public interest to aban-

don the refugees in USCCB’s care, many of whom do not speak English,

are resettling with families, relied on the availability of initial-resettle-

ment services, and face significant risk of poverty and homelessness

without continued funding.

                              CONCLUSION

      This Court should grant the motion.

  March 14, 2025                          Respectfully submitted,

                                          /s/ David W. Casazza


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                  CERTIFICATE OF COMPLIANCE
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      I hereby certify that:

      1. This motion complies with the type-volume limitation of Fed. R.

App. P. 27(d)(2)(A) because it contains 5102 words, excluding the parts of

the motion exempted by Fed. R. App. P. 32(f).

      2. This brief complies with the typeface requirements of Fed. R.

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March 14, 2025

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                      CERTIFICATE OF SERVICE

      I hereby certify that on March 14, 2025, I filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Dis-

trict of Columbia Circuit via the Court’s electronic-filing system. I certify

that all participants in this case are registered users of the Court’s elec-

tronic-filing system and have thereby been served at the time of filing.



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